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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA                              US DiSTRICT COURT
                                CHARLOTTE DIVIS10N                                      WESTERN DISTRIC丁 OF NC

                                 CRIMINAL NO.:3:1 6cr21 8‑FDW

UNITED STATES OF AMERICA
                                                                    CONSENT ORDER AND
        V.                                                      」UDGMENT  OF FOMEITURE
                                                                   PENDING RULE 32.2(c)(2)
(4)ANTONIO CARMONA

        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property   listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

        1. The following property is forfeited to the United States pursuant to 21 U.S.C. $
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 2l U.S.C. $ 853(n), pending finaladjudication herein:

        Approximately $97,415 in United States currency seized on or about August llr2016

        2.      The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.       lf and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 2l U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5. Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P.45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.




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         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 2l
U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a)
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against Defendant. If the Defendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Defendant hereby waives all right to do so. As to any firearms listed above
and/or in the charging instrument, Defendant consents to destruction by federal, state, or local law
enforcement authorities upon such legal process as they, in their sole discretion deem to legally
sufficient, and waives any and allrightto furthernotice of such process or such destruction.


JILL WESTMORELAND ROSE
UNITED STATES ATTORNEY



                                                      ANTONIO CARMONA
    stant United States Attorney




Signed this the
                  -_]|I day of Octo ber,2016.



                                              UNITED STATES M A● Isて κハτE                 JUDGE




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